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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

_________________________________________
                                          )
Scottsdale Capital Advisors Corp., et al.,)
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )                   Docket No. 1:16-CV-00545-JL
                                          )
                                          )
The Deal, LLC, et al.                     )
                                          )
      Defendants.                         )
__________________________________________)

    ASSENTED-TO MOTION TO APPROVE STIPULATED PROTECTIVE ORDER

       Plaintiffs Scottsdale Capital Advisors Corp. and John J. Hurry, by and through counsel,

respectfully request that this Honorable Court approved the stipulated protective order agreed

between the parties. In support of this motion, Plaintiff state as follows:

1. This is a claim for defamation, false light invasion of privacy, intentional interference with

   contractual relations, and tortious interference with prospective economic advantage arising

   from Defendants’ publication of statements regarding the Plaintiffs.

2. Defendants filed a motion to dismiss for lack of personal jurisdiction, and the court

   (LaPlante, J.) held a hearing on that motion on May 15, 2017.

3. Following the hearing, the court met with counsel in chambers and stated that limited

   discovery would be permitted on jurisdictional issues.

4. The parties discussed the need for a protective order, and agreed to work cooperatively to

   formulate such an order based upon Civil Form 5.

5. The parties agreed upon a proposed protective order, which appears on the court’s docket as

   document #23.
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6. The parties agreed a protective order is necessary to protect from public disclosure

   confidential information, including identifying information with respect to Defendants’

   customers.

7. As this motion is assented-to pursuant to Local Rule 7.1(c), and is committed to the court’s

   sound discretion, no memorandum of law is necessary. Local Rule 7.1(a)(2).

WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

   A) Approve the parties’ stipulated protective order (document #23); and

   B) Grant such other and further relief as may be just and proper.

                                             Respectfully submitted,

                                             SCOTTSDALE CAPITAL ADVISORS CORP. and
                                             JOHN J. HURRY,

                                             By their attorneys,

                                             DEVINE MILLIMET & BRANCH, P.A.



Dated: June 1, 2017                          /s/ Christopher D. Hawkins___________________
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                                             HARDER, MIRELL & ABRAMS, LLP


                                             /s/ Charles J. Harder________________________
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                                 CERTIFICATE OF SERVICE

I hereby certify that on this 1st day of June 2017, I served a copy of the foregoing assented-to
motion via ECF upon Elizabeth A. McNamara, Esq. (lizmcnamara@dwt.com) and Steven M.
Gordon, Esq. (Sgordon@shaheengordon.com).


                                              /s/ Christopher D. Hawkins__________________
